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                                                           UNITED STATES BANKRUPTCY COURT
                                                            EASTERN DISTRICT OF CALIFORNIA


        4                     UNITED STATES BANKRUPTCY COURT

        5                     EASTERN DISTRICT OF CALIFORNIA

        6
             In re:                                  Case No. 14-21394-B-13
        7
             PATRICK DAVID CLARK and SUZANNE         DC Nos. PP-7
        8    JANETTE CLARK,                                  ASH-3
                                                             ASH-4
        9
                                 Debtor(s)
       10
       11
       12
                             CONSOLIDATED MEMORANDUM DECISION:
       13         (I) GRANTING MOTION TO CONVERT AND CONVERTING THIS CASE TO A
                  CHAPTER 7 CASE [DKT. 244]; (II) DENYING MOTION TO ALTER OR
       14         AMEND ORDER DENYING MOTION TO QUASH (Dkt. 2321; (III)
                  DENYING APPLICATION FOR RULE 2004 EXAMINATION AND QUASHING
       15         RELATED SUBPOENAS (Dkts. 228, 2371; and (IV) DISCHARGING
                  ORDER TO SHOW CAUSE WITH NO FURTHER SANCTIONS (Dkt. 2371
       16
       17 I INTRODUCTION
       18         There are four matters presently before the court: (1) an

       19    application for a Rule 2004 examination filed by debtors Suzanne

       20    and Patrick Clark on December 9, 2014 [dkt. 2281;' (2) the

       21    debtors' motion to alter or amend an order denying the debtors'

       22    earlier motion to quash filed on December 14, 2015 [dkt. 2321;

       23    (3) an order for debtors' former litigation and current

       24    bankruptcy counsel - Arthur Samuel Humphrey - to show cause why

       25    he should not be sanctioned, which order was entered by the court

       26    sua sponte on December 15, 2015 [dkt.   237]; and (4) a motion to

        27   convert this chapter 13 case to a chapter 7 case filed by S & J
        28
                   To avoid confusion, "debtors" will refer to Patrick and
                      1
             Suzanne Clark and "co-debtor" will refer to Suzanne Clark.
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        1 Advertising, Inc., on December 23, 2015 [dkt. 2441. 2 Facts
        2 relevant to each matter are discussed within the section to which
        31 each motion relates. All four matters were heard and argued on
        41 January 20, 2016. Appearances were noted on the record. For the
            reasons explained below, the motion to convert will be granted
            and all other motions will be denied.


            JURISDICTION AND VENUE
                 Federal subject-matter jurisdiction is founded on 28 U.S.C.
            § 1334. Each of the matters addressed in this memorandum
            decision are core proceedings that a bankruptcy judge may hear
            and determine. 28 U.S.C. §§ 157 (b) (2) (A) and (0) . To the extent
            they may ever be determined to be matters that a bankruptcy judge
            may not hear and determine without consent, the parties
            nevertheless consent to such determination by a bankruptcy judge.
            28 U.S.C. § 157(c)(2). Venue is proper under 28 U.S.C. § 1409.


            I. ORDER GRANTING MOTION TO CONVERT AND CONVERTING THIS CASE TO
                 A CHAPTER 7 CASE (DKT. 2441

            Introduction
                 Presently before the court is a motion filed by 5 & J
            Advertising, Inc., to convert this chapter 13 case to a chapter 7
            case. The debtors have opposed the motion and the corporation
            has replied to the debtors' opposition. The court has reviewed



                 2 The debtors are now represented in this chapter 13 case by
            their litigation attorney, Mr. Humphrey. Mr. Humphrey was
            substituted for the debtors' former bankruptcy counsel on
            December 21, 2015. References to the debtors' litigation
            attorney are references to Mr. Humphrey.

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        1   the motion, the opposition, the reply, and all related exhibits

        2   and declarations.
        3        The court held a hearing on the motion to convert on January

        4   20, 2016. At that time the court heard and considered arguments
            and statements in support of and opposition to the motion. For
            the reasons explained below, the court concludes there is cause
            under 11 U.S.C. § 1307(c). 3 The court also concludes that
            because there are non-exempt assets available to pay creditors,
            conversion, rather than dismissal, is in the best interest of the
            creditors and the estate. See Nelson v. Meyer (In re Nelson),
            343 B.R. 671, 675 (9th Cir. BAP 2006) . Therefore, the motion to
            convert will be granted and this chapter 13 case converted to a
            case under chapter 7 of the Bankruptcy code.


            Background and Statement of Facts.
                 On October 16, 2015, the corporation filed an application to
            examine the debtors under Federal Rule of Bankruptcy Procedure
            2004. The court authorized those examinations in orders entered
            on October 20, 2015. Subpoenas compelling the debtors to produce
            documents by December 2, 2015, and appear for Rule 2004
            examinations at the office of the corporation's attorney at 2:00
            p.m. on December 4, 2015, issued on October 21, 2015.



                 Conversion is governed by § 1307(c) which states:
                 3
                 [O]n request of a party in interest, ... and after
                 notice and a hearing, the court may convert a case
                 under this chapter to a case under chapter 7 of this
                 title or may dismiss a case under this chapter,
                 whichever is in the best interests of creditors and the
                 estate, for cause[.]
            11 U.S.C. § 1307(c).
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        1         The debtors moved to quash the corporation's Rule 2004

        2    subpoenas on November 3, 2015. The corporation opposed that

        3    motion on November 18, 2015, and the debtors replied to that

        4    opposition on November 24, 2015. The court held a hearing on the

        5    debtors' motion to quash on December 2, 2015, and, at that time,

        6    denied the motion. The court also ordered the debtors to produce

        7    the subpoenaed documents and appear for Rule 2004 examinations at

        8    the offices of the corporation's attorney at 2:00 p.m. on

        9    December 4, 2015. The court placed its ruling on the record as

       10    follows:
       11         I'm denying the motion to quash. The debtors are
                  ordered to appear as noticed in the subpoena on Friday,
       12         December 4th, at 2:00 p.m., and they are directed to
                  produce the documents subject to cooperation between
       13         counsel. If there's a dispute as to the document
                  production, I'll hear it on very short notice.
       14
                  The court memorialized its oral ruling in civil minutes
       15
             filed on December 2, 2015, and a civil minute order entered on
       16
             December 8, 2015.
       17
                  Discussions after the hearing resulted in an agreement
       18
             between the debtors' litigation attorney and the corporation's
       19
             attorney to continue the court-ordered document production and
       20
             Rule 2004 examination dates. At the request of and as an
       21
             accommodation to the debtors, the date for document production
       22
             was extended to December 17, 2015, and the court-ordered Rule
       23
             2004 examinations were continued to December 21, 2015.
       24
                  Despite these extensions, on December 14, 2015, the debtors'
       25
             litigation attorney sent the corporation's attorney an email
        26
             stating that the debtors would not produce documents by December
        27
             17, 2015, and they would not appear for Rule 2004 examinations on
        28

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        1        December 21, 2015, as ordered. Consistent with that email,

        2        subpoenaed documents were not produced by December 17, 2015, and

        3        the debtors failed to appear for their Rule 2004 examinations on

        4        December 21, 2015.
        5             Debtors informed the corporation's attorney they could

        6        ignore the court's December 2, 2015, order'to produce documents

        7        and appear for Rule 2004 examinations because the order was

        8        subject to clarification in the event of a dispute, and on

        9        December 14, 2015, they moved to alter or amend that order which

       10        meant they were free to disobey the court's order until the

       11        motion to alter or amend was decided. Regarding the latter, the

       12        debtors relied on (and referred the corporation's attorney to)

       13        two cases to support their position: Creative Data Forms, Inc. v.

       14        Pennsylvania Minority Business Development Authority, 72 B.R. 619

       15        (Bankr. E.D. Penn. 1985), and In re Readinc Broadcasting, Inc.,

       16        386 B.R. 562 (Bankr. E.D. Pa. 1982).

       17             The debtors' decision to disobey this court's order of

       18        December 2, 2015, is part of a larger and continuing pattern of

       19        an abuse of the chapter 13 process in which the debtors have

       20        engaged from the inception of this case. And that abuse relates

       21        primarily to the manipulation and knowing undervaluation of the

       22        co-debtor's 50% interest in the corporation which is to be sold

       23        and the proceeds used to pay creditors. The debtors manipulated

       24        and knowingly undervalued that interest in order to confirm plans

       25        with substantially reduced payments to unsecured creditors and,

       26        in turn, enhance the retention of non-exempt assets for their own

       27    I   personal benefit.
        28            The debtors filed a chapter 13 petition on February 14,

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        1    2014, and with that petition filed schedules - under penalty of

        2    perjury - in which they valued the co-debtor's 50% interest in

        3    the corporation at $42,500. The debtors also filed a plan with

        4    the petition and schedules. That plan provided for payment of

        5    approximately 50% to unsecured creditors.
        6         Approximately one month after the petition, schedules and

        7    initial plan were filed, on or about March 3, 2014, the

        8    corporation provided the debtors with an appraisal which stated

        9    that 100% of the equity in the corporation was valued at

       10    $811,000. The debtors made no effort to amend their schedules to

       11    reflect the substantial difference in the valuation of the co-

       12    debtor's 50% interest in the corporation between the schedules

       13    filed with the petition and the appraisal. In fact, there is no

       14    indication that the debtors made any disclosure of this valuation

       15    or the appraisal to the court, the trustee, or creditors.

       16    Instead, based on the representation in the schedules that the

       17    co-debtor's 50% interest in the corporation was worth only

       18    $42,250 on May 12, 2014, the debtors obtained confirmation of the

       19    initial plan which provided for payment of 50% of unsecured

       20    claims.
       21         Two days after the plan was confirmed, on May 14, 2014, the

       22    debtors filed a first modified plan and motion to confirm it.

       23    The proposed payments to unsecured creditors in this first

       24    modified plan were again based on the value of the debtors' non-

       25    exempt assets which the debtors stated was $58,036 and which

        26   included the co-debtor's 50% interest in the corporation valued

        27   at $42,250. Again, although on March 2014 the debtors received

        28   an appraisal which valued 100% of the corporate interest at

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        1    $811,000, the schedules were not amended and there was no
        2    disclosure that the co-debtor's 50% interest may be worth more

        3    than $42,250. And yet, this time, the debtors proposed a plan

        4    that reduced payments to unsecured creditors to 10%.
        5    Confirmation of this plan was denied in an order entered on July

        6    8, 2014. Three weeks later, on July 30, 2014, the debtors

        7    received an offer from the corporation to purchase the co-

        8    debtor's 50% interest for $200,000, plus additional payments over

        9    time.
       10            Despite (1) the March appraisal which valued 100% of the

       11    shares of the corporation at $811,000 (and thus the co-debtor's

       12    50% interest at $405,500) and (2) the corporation's July 2014

       13    offer to purchase the co-debtor's 50% interest in the corporation

       14    for $200,000, on September 2, 2014, the debtors filed amended

       15    Schedules B and C in which they again valued the co-debtor's 50%

       16    interest in the corporation at $42,250. Based on the valuation

       17    of non-exempt assets that included a valuation of the co-debtors'

       18    50% interest at $42,250, and despite knowing that the interest

       19    could be worth between $200,000 and $400,000 on September 2,

       20    2015, the debtors also filed a second amended plan in which they

       21    proposed to reduce payments to unsecured creditors from 50% to

       22    10%. Even more troubling, just six days later, on September 8,

       23    2014, the debtors received a third-party offer to purchase 100%

       24    of the corporate shares for a staggering $1,200,000. None of

       25    these values or offers were disclosed and, yet, knowing that the

       26    co-debtor's 50% interest in the corporation could be worth

       27    upwards of $600,000, the debtors allowed the court to confirm

        28   their 10% repayment plan on October 16, 2014.

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        1         It was not until March 10, 2015, and then only after the

        2    corporation informed the court that the co-debtor's 50% interest

        3    in the corporation was likely to be valued at over $200,000 in a

        4    joint appraisal prepared by the debtors' appraiser and one

        5    selected by the corporation in a pending state court proceeding

        6    under California Corporations Code § 2000, that the debtors filed

        7    the third modified plan and motion to confirm it. The third

        8    modified plan was proposed as a 100% repayment plan based on the

        9    anticipated valuation of the co-debtor's 50% corporate interest

       10    in the California Corporations Code § 2000 proceeding. The third

       11    modified plan was confirmed in an order entered on May 15, 2015.

       12         After the third modified plan was confirmed, on or about

       13    June 6, 2015, an appraiser selected by the debtors and another

       14    selected by the corporation prepared a joint appraisal in which

       15    they valued the co-debtor's 50% corporate interest at $247,000.

       16    Nearly a year and a half after the petition was filed, after

       17    numerous sworn statements that the co-debtor's 50% interest was

       18    worth only $42,250 knowing it was likely worth more, and two

       19     confirmed plans with substantially reduced payments to unsecured

       20     creditors based on a knowing undervaluation, the debtors now

       21    I claim the $247,000 value is too low. 5
       22
       23          4 This third modified plan was filed and confirmed based on
              the representation it was a 100% repayment plan, but on July 8,
       24     2015, the debtors' former bankruptcy counsel informed the court
              that plan was in fact not a 100% plan.
       25
        26         51t appears the debtors now claim the $247,000 valuation is
              too low because they are obligated to pay litigation attorney's
        27    fees from any surplus distribution from the sale of that
              interest. This is somewhat disconcerting in two respects.
        28    First, the disclosure that the debtors' litigation attorney is to

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        1    Discussion

        2    Material Default by the Debtors With Respect to the Term of a
             Confirmed Plan
        3
                  Cause is defined in 1307(c) to include a "material default
        4
             by a debtor with respect to a term of a confirmed plan." 11
        5
             U.S.C. § 1307(c)(6). The debtors' obligation to appear in court
        6
             when ordered by the court to do so is a material term of the
        7
             debtors' confirmed third modified plan inasmuch as the order
        8
             confirming that plan states: "The debtor shall appear in court
        9
             whenever notified by the court to do so." This court's order of
       10
             December 2, 2015, ordering the debtors to appear for Rule 2004
       11
             examinations is an order for the debtors to appear in court.
       12
                  The current version of Rule 2004 is derived from Section
       13
             21(a) of the Bankruptcy Act of 1898 and former Federal Rule of
       14
             Bankruptcy Procedure 205. See Lawrence P. King et al., Collier on
       15
             Bankruptcy, Part 3(a) at 3-23 (1 5th ed. 1996); William T. Laube
       16
             and Asa S. Herzog, Bankruptcy Act And Rules, p.a-438 (Matthew
       17
             Bender 1973) . In relevant part, § 21(a) of the Bankruptcy Act of
       18
             1    states that "[a] court of bankruptcy may, ..., by order
       19
             require any designated person, including the bankrupt and his
       20
       21
       22    be paid from surplus proceeds from the sale of the co-debtor' s
             50% interest in the corporation was made in § 329(a) disclosures
       23    submitted over a year after the petition was filed and only after
             the court required these disclosures before confirming the third
       24    modified plan. Again, this is another instance in which the
             debtors were less than forthcoming with timely, accurate, and
       25    truthful information. Second, this gives the debtors' litigation
             attorney a personal and financial stake in this bankruptcy case
        26
             which may conflict with the best interest of the creditors and
        27   the estate. In other words, the debtors' litigation attorney
             finds himself in a position where he may have been tempted to
        28   place his desire to be paid over interests of paying creditors.

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        1    wife,   to appear in court or before a referee . .., to be examined

        2    concerning the acts, conduct, or property of a bankrupt whose

        3    estate is in process of administration under this Act[.]"
        4    (Emphasis added). As amended in 1938, § 21(a) of the 1898

        5    Bankruptcy Act states in relevant part: "The court may, upon

        6    application ..., by order require any designated persons,

        7    including the bankrupt ... to appear before the court...    to be

        8    examined concerning the acts, conduct, or property of a

        9    bankrupt." (Emphasis added)
       10            Former Federal Rule of Bankruptcy Procedure 205, which took

       11    effect on October 1, 1973, did not specifically require

       12    examinations to be conducted in the courtroom. As the court in

       13    In re Symington, 209 B.R. 678 (Bankr. D. Md. 1993), explained:

       14            On October 1, 1973, when the Federal Rules of
                     Bankruptcy Procedure went into effect, Bankruptcy Rule
       15            205 did not specifically require that bankruptcy
                     examinations be conducted in open court. See 12
       16            Collier on Bankruptcy ¶ 205.11 (14th ed. 1978) . The
                     practice since 1973 has been to hold bankruptcy
       17            examinations outside of the presence of the court, in
                     the same manner as pretrial discovery is conducted
       18            under the Federal Rules of Civil Procedure.

        19   Id. at 693.
       20            Rule 205 did not and, under the Rules Enabling Act at 28

       21    U.S.0 § 2075, could not change substantive provisions of the

       22    Bankruptcy Act. In other words, the rules of bankruptcy

       23    procedure were adopted to govern the procedural aspects of

       24    substantive statutory provisions but did not change the

       25    substantive law as it existed. See In re Tallerico, 523 B.R.

        26   774, 783-84 (Bankr. E.D. Cal. 2015) (explaining that 1973 rules

        27   were limited to a procedural matters in compliance with the Rules

        28   Enabling Act) . Given the silence in Rule 205 as to where an

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        1   examination was to take place, it follows that the location of
        2 the examination was viewed as a procedural matter removed from
        3 statute within the boundaries of the Rules Enabling Act. id.
        4   (explaining that rule drafters were careful to recognize
            procedural/substantive boundaries) . The substantive provision of
            the Bankruptcy Act that characterized an examination of the
            debtor as a proceeding before the bankruptcy court was unaffected
            by Rule 205 and, subsequently, by Rule 2004. Thus, although now
            permissible to conduct a Rule 2004 examination outside the
            confines of a courtroom, the examination itself substantively
            remains a proceeding in or before the bankruptcy court now just
            as it was under the 1898 Bankruptcy Act. See In re Samuelsohn.
            174 F. 911, 912 (W.D.N.Y. 1909) (describing examination testimony
            given by debtor during course of bankruptcy case as part of the
            record in the bankruptcy proceeding) . That means when the
            debtors disobeyed this court's order of December 2, 2015, and
            failed to appear for Rule 2004 examinations, they failed to
            appear in court when they were ordered to do so and as they were
            required to do by a material term of the confirmed third modified
            plan. That constitutes a default.
                 In short, the debtors' decision to disobey this court's
            order to appear for Rule 2004 examinations is a material default
            by the debtors with respect to a term of the confirmed third
            amended plan. That, in turn, is cause under § 1307 (c) (6)
            And the reasons given by the debtors in an effort to support
            their decision to disobey the court's December 2, 2015, order are
            not persuasive or credible. And they do not negate the existence
            of cause.

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        1             The court's order for the debtors to appear for Rule 2004

        2        examinations was clear, specific, and direct. Whereas the order

        3        to produce documents was subject to intervention by the court, on

        4        very short notice, in the event of a dispute regarding

        5        production, the order to appear for examinations was not. The

        6        latter was direct and unconditional.

        7             Even assuming the debtors understood that both aspects of

        8        the court's order, i.e., document production and Rule 2004

        9        appearances, were subject to further court intervention in the

       10        event of a dispute, the debtors failed to seek that intervention

       11        before the continued examination date. Instead, they waited
       12        twelve days to file a motion to alter or amend the court's

       13        December 2, 2015, order and filed that motion seven days before

       14        the continued examination date. Instead of asking the court to

       15        hear that motion on shortened notice, see LR 9014-1(f) (3), the

       16        debtors set the motion for hearing under Local Rule 9014-1(f) (1)

       17    ,
                 which requires at least 28 days' notice resulting in a hearing

       18        date of January 20, 2015 - nearly a month after the date on which

       19        they were to appear for Rule 2004 examinations.

       20             The court is persuaded that the debtors' decision to set a

       21        hearing on the motion to alter or amend was a tactical decision

       22        made for the purposes of delay. This is apparent from the

       23        position the debtors and their litigation attorney took from the

        24       day the motion to alter or amend was filed on December 14, 2015,

        25       through the date of their non-appearance on December 21, 2015;

        26       namely, that the pending motion to alter or amend gave them

        27       license to disobey the court's order to appear for their Rule

        28       2004 examinations until that motion was decided. The debtors'

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        1    argument is completely lacking in merit.
        2          The debtors cited two cases to support the position that

        3    they could freely disobey this court's order until the motion to

        4    alter or amend was decided: Creative Data Forms, Inc. v. PA

        5    Minority Bus. Dev. Auth., 72 B.R. 619 (Bankr. E.D. Pa. 1985), and

        6    In re Reading Broadcasting, Inc., 386 B.R. 562 (Bankr. E.D. Pa.

        7    1982) .    Not only are those cases not binding on this court, but
        8    they are not even persuasive authority.        Neither case stands for

        9    the proposition - even remotely - that a party may willfully

       10    disobey a court order so long as a motion to alter or amend is

       11    filed and pending before compliance is required. Rather, both

       12    cases stand for the unremarkable proposition that a motion to

       13    alter or amend prevents an order from becoming final for purposes

       14    of filing an appeal and the time to file a notice of appeal.

       15    That is also stated in Rule 8002(b) (1) . But that does not mean a

       16    party is free to disregard an order.

       17          Several courts have held that a pending motion to alter or

       18     amend an order does not permit a party to disobey the order

       19     subject to the motion. See In re Petro, 18 B.R. 566, 568, 569

       20     (Bankr. E.D. Pa. 1982) (stating that debtors are free to petition

       21     the court to modify an order they disagreed with but pending

       22    I motion   did not excuse compliance with order absent a stay even if

       23     order was erroneous, improper, or unconstitutional); Azpitarte v.

       24     King County, 2009 WL 939124 At *1 (W.D. Wa. 2009) ("[A] pending

       25     motion [to amend] does not authorize a party to disobey an

       26     explicit Court order[.]") . Moreover, such a rule could not be

        27    reconciled with well-established Supreme Court and Ninth Circuit

        28    authority.

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        1             The U.S. Supreme Court has made it abundantly clear that a

        2        party is not free to disobey a federal court order even if it
        3        dislikes, disputes, or disagrees with the order. In Maness v.

        4        Meyers, 419 U.S. 449 (1975), the Supreme Court stated: "If a

        5        person to whom a judge directs an order believes that the order

        6        is incorrect, the remedy is to appeal, but, absent a stay, he

        7        must comply promptly with the order pending appeal." j. at 458.

        8        The Ninth Circuit has also made abundantly clear that there are

        9        no circumstances - not even exceptional circumstances - that

       10        warrant disobedience with a federal court order even if the party

       11        or its attorney disagrees with or dislikes the order and even if

       12        the order is erroneous or improper. In Crystal Palace Gambling

       13        Hall, Inc. v. Mark Twain Indus. (In re Crystal Palace Gambling

       14        Hall, Inc.), 817 F.2d 1361 (9th Cir. 1986), the Ninth Circuit

       15        stated:
       16             If the appellants believed that the district court
                      incorrectly issued an order, their remedy was to appeal
       17             and request a stay pending the appeal. Maness v.
                      Meyers, 419 U.S. 449, 458, 95 S.Ct. 584, 590, 42
       18             L.Ed.2d 574 (1975); see also Chapman v. Pacific
                      Telephone and Teleraph Co., 613 F.2d 193, 197 (9th
       19             Cir.1979) . Absent a stay, all orders and judgments of
                      courts must be complied with promptly. Mazzola, 716
       20             F.2d at 1240 (quoting Maness v. Meyers, 419 U.S. 449,
                      458, 95 S.Ct. 584, 590, 42 L.Ed.2d 574 (1975))
       21             Although both Crystal Palace and the shareholders
                      appealed, no stay was obtained. A party cannot disobey
       22             a court order and later argue that there were
                       'exceptional circumstances' for doing so. This
       23             proposed 'good faith' exception to the requirement of
                      obedience to a court order has no basis in law, and we
       24             reject the invitation to create such an exception. The
                      appellants were not justified by exceptional
        25            circumstances in disobeying the court's order.

        26           at 1365.
        27            In light of this otherwise clear, unambiguous, and binding

        28   I   authority, the court gives no weight or credence to the debtors'

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        1   efforts to excuse or justify their disobedience with the December

        2   2, 2015, order to appear for Rule 2004 examinations or the

        3   ensuing material default under the confirmed third modified plan.

        4   If the debtors or their litigation attorney disliked, disputed,

        5   or disagreed with the order to appear, they could have appealed

        6   (or sought leave to appeal) that order and sought a stay pending

        7   the appeal. They also could have sought relief from that order

        8 before the date they were required to comply with the order.
        9   They did neither. Instead, they elected to deliberately disobey

       10   the order and failed to appear for Rule 2004 examinations. And

       11   in so doing, the debtors placed themselves in default of a

       12   material term of the confirmed third modified plan. That is

       13   cause under § 1307 (a) (6)
       14
       15   Additional Cause Based on the Totality of the Circumstances.

       16        In addition to the non-exclusive statutory list of under

       17   § 1307 (c), the administration of a chapter 13 case in a manner

       18   that constitutes an abuse of the bankruptcy or chapter 13 process

       19   is cause for conversion. In re Leavitt, 171 F.3d 1219, 1224 (9th

       20   Cir. 1999) (citation omitted) . The following factors are
       21   considered in making this determination: (1) whether the debtor

       22   misrepresented facts in the petition or plan, or unfairly

       23   manipulated the Bankruptcy Code; (2) the debtor's history of
       24   filings and dismissal; (3) whether the debtor intended to defeat

       25   state court litigation; and (4) whether egregious behavior is

       26   present. A bankruptcy court is not required to find that each

       27   factor is satisfied or even weigh each factor equally. Khan v.

       28   Curry (In re Khan), 523 B.R. 175, 185 (9th Cir. BAP 2014)

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        1 (citation omitted) . Rather, these factors are tools in
        21 considering the totality of the circumstances. j.
                 Two of the four factors are not applicable in this case,
            i.e, the debtors' history of filings and dismissal and whether
            the debtors only intended to defeat state court litigation.
            However, the exclusion of those factors does not end the court's
            analysis. See Meyer v. Lepe (In re Lepe), 470 B.R. 851, 863 (9th
            Cir. BAP 2012) . Therefore, the court considers whether the
            debtors misrepresented facts in the context of any plan or filed
            any plan in any inequitable manner and whether egregious behavior
            is present. Weighing these factors, the court finds both weigh
            heavily in favor of a finding of additional cause.
                 From the inception of this case, the debtors have been less
            than truthful. Knowing that the co-debtor's 50% interest in the
            corporation was worth between $200,000 and $600,000, the debtors
            filed schedules and amended schedules in which they stated under
            oath the interest was worth only $42,250. The debtors then
            manipulated and abused the confirmation process by using the
            intentionally understated value to confirm plans that provided
            for artificially reduced payments to creditors and increased
            their share of non-exempt assets.
                 Had the debtors accurately valued the co-debtor's 50%
            corporate interest consistent with information within their
            possession, the terms of any plan would have required payments to
            unsecured creditors well in excess of ten and fifty percent. In
            that regard, the debtors deceived not only their creditors and
            the trustee, but, the court as well.
                 When truthful and accurate information is the exception and

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        1        not the rule, and when the confirmation process is repeatedly

        2        manipulated as was done in this case, the chapter 13 process is

        3        abused. Therefore, based on the debtors' conduct in this case as

        4        it pertains to the intentional undervaluation of the co-debtor's

        5        50% interest in the corporation for purposes of manipulating the

        6        chapter 13 process in general - and the plan confirmation process

        7        in particular - the court concludes there is additional cause

        8        under § 1307 (c) based on what the court finds is a strong
                 satisfaction of at least two of the Leavitt factors.

       10
       11        Debtors' Remaining Oblections are Overruled.

       12             In making its determination, the court has considered and

       13        overrules the debtors remaining objections to conversion.

       14             To the extent the debtors contend conversion is unfair to

       15    I   their interests, the relevant consideration under § 1307 (c) is

       16        what is in the best interest of the creditors and the estate, not

       17        the debtors. This objection is overruled.

       18             The objection that conversion is a breach by the corporation

       19        and its other director of fiduciary duties owed the co-debtor as

       20        a minority shareholder is overruled. The debtor is not a

       21        minority shareholder. Moreover, the corporation's actions in

       22        seeking conversion as a party in interest are also post-petition

       23        actions authorized under and expressly sanctioned by the

       24        Bankruptcy Code and within the jurisdiction of this court.

        25            The objection that the debtors are unable to respond due to

        26       the unavailability of evidence necessary to oppose the motion to

        27       convert is overruled because, in reaching its decision, the court

        28       has not relied (and need not rely) on the facts for which the

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        1   debtors contend evidence is necessary, i.e., (1) that the debtors
        2 have appealed from interlocutory orders without the necessary
            motion for leave, (2) that the debtors have conducted meritless
            post-petition litigation, and (3) that the debtors and litigation
            attorney violated court orders barring discovery related to
            transfer and valuation of the co-debtor's corporate interest.
            The debtors also fail to articulate what the purported additional

            evidence is.
                  The objection that the motion to convert is an improper
            revocation of the order confirming the third amended plan is
            overruled. Revocation of a confirmation order under § 1330 and
            conversion under § 1307(c) are different events. Whereas § 1330
            permits the court to revoke a confirmation order, § 1307(c)
            permits the court to dismiss or convert a case if a confirmation

             order is revoked.
                   Debtors' res judicata argument is overruled. In making its
             determination to convert, the court is required to consider the
             totality of the circumstances as explained above. The debtors'
             default under the third modified plan is also a post-confirmation

            I event.
                   The objection that the corporation lacks standing under Rule
             2004 is overruled. Federal Rule of Bankruptcy Procedure 2004
             states that "[o]n motion of any party in interest, the court may
             order the examination of any entity." Fed. R. Bankr. P. 2004(a).
             Standing under Rule 2004 only requires "party in interest"
             status. The court has already ruled that the corporation is a
             "party in interest" in this chapter 13 case. On January 27,
             2015, the corporation moved for relief from the automatic stay in

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        1    order to continue with California Corporations Code § 2000
        2    proceeding pending before the state court. The debtors opposed

        3    that motion on the basis that the corporation lacked standing

        4    because it was not a "party in interest." The court overruled

        5    that objection, found and stated on the record that the

        6    corporation is a "party in interest," and granted the

        7    corporation's motion to allow the state court to proceed with

        8    valuation of the co-debtor's 50% corporate interest. The debtors

        9    did not appeal that order and the time to do is long passed. 6

       10         Finally, the objection to the absence of an order that

       11    requires the corporation, its principal, and its attorney to show

       12    cause why they should not be sanctioned is overruled. As a

       13    matter of treating the parties equitably, the debtors suggest

       14    that if their litigation attorney is subject to sanctions for the

       15    reasons stated in the order to show cause discussed below, then

       16    so too are the corporation, its principal, and its attorney. As

       17    is also explained below, the court's order to show cause directed

       18    to the debtors' litigation attorney will be discharged and no

       19    further sanctions ordered. Treating the parties equitably, the

       20    court overrules this objection as it pertains to the corporation,

       21    its principal, and its attorney and denies the debtors' request

       22    to the extent the objection could be construed as such.

       23
       24         6 The court also notes that the corporation has a financial
             interest at stake in this case. It is identified as the party
       25    who will fund the plan by purchasing the co-debtor's 50%
             corporate interest and it is potentially liable for substantial
       26
             attorney's fees if it does not. The debtors' opposition to the
       27    motion to convert also identifies the corporation as a
             "creditor." See In re Gucci, Inc., 126 F.3d 380, 388 (2nd Cir.
        28   1997); see also In re PRTC, 177 F.3d 174, 777 (9th Cir. 1999)

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           Conversion Over Dismissal.
                 Having found that there is cause to convert or dismiss under
           § 1307(c), the court concludes that conversion rather than
           dismissal is in the best interest of the creditors and the
            estate. Given that the co-debtor's 50% corporate interest has
           been jointly valued by an appraiser selected by the debtors and
            another selected by the corporation, and given that the debtors
            have repeatedly and knowingly manipulated and undervalued that
            interest, in the course of performing his/her statutory duties, a
            chapter 7 trustee will be able to determine if that valuation is
            appropriate or if the estate should incur the administrative
            expense associated with further litigation over the joint
            valuation. In any case, there are significant non-exempt assets
            valued at well over $42,250 from which creditors may be paid.


            Conclusion
                 In sum, cause exists under § 1307(c), and specifically under
            § 1307 (c) (6) . And based on the significant non-exempt assets
            available to pay creditors, conversion rather than dismissal is
            in the best interest of the creditors and the estate. Therefore,
            the motion to convert is GRANTED and this case is ordered
            converted to a case under chapter 7 of the Bankruptcy Code.
                 A separate order will issue.




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        1    II. ORDER DENYING MOTION TO ALTER OR AMEND ORDER DENYING MOTION
                  TO QUASH (Dkt. 2321
        2
        'I Introduction
        ru        This is a motion by the debtors to alter or amend the order

        5    placed on the record on December 2, 2015, as memorialized in

        6    civil minutes entered December 2, 2015, and a civil minute order

        7    entered on December 8, 2015. The December 2, 2015, order denied

        8    the debtors' motion to quash subpoenas served on the debtors

        9    compelling document production and attendance at Rule 2004

       10    examinations.
       11         The court heard this motion on January 20, 2016.

       12    Appearances were noted the record. The court denied this motion

       13    for reasons stated on the record. This order supplements the

       14    court's oral ruling stated on the record in open court on January

       15    20, 2016.
       16
       17    Discussion

       18          The debtors' motion to alter or amend was filed within

       19    fourteen days and under Federal Rules of Civil Procedure 52(b)

       20    and 59(e) as made applicable by, respectively, Federal Rules of
       21    Bankruptcy Procedure 7052 and 9023. In a recent opinion,
       22    Tattersalls, Ltd. v. DeHaven, 745 3 F.3d 1294 (9th Cir. 2014),

       23    the Ninth Circuit explained that if a court makes a substantive
       24    change in its decision, the judgment must be amended under Rule

       25    59(e) .   Id. at 1299.
       26          Amending a judgment under Rule 59(e)/9023 after its entry is
       27    an extraordinary remedy which should be used sparingly. Allstate
        28   Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011) . A Rule

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        1    59(e)/9023 motion may not be used to raise arguments or present
        2    evidence for the first time that could have been raised or
        3    presented earlier in the litigation. Kona Enter., Inc. v. Estate

        4    of Bishop, 229 F.3d877, 890 (9th Cir. 2000) (citation omitted).

        5    Such a motion may only be granted on one of four grounds: (1) if

        6    such motion is necessary to correct manifest errors of law or

        7    fact upon which the judgment rests; (2) if such motion is

        8    necessary to present newly discovered or previously unavailable

        9    evidence; (3) if such motion is necessary to prevent manifest
       10    injustice; or (4) if the amendment is justified by an intervening
       11    change in controlling law. Allstate, 634 F.3d at 1111.

       12         Debtors assert the remedy afforded under Rule 59(e)/9023 is

       13    appropriate in this case for two reasons: (1) to correct manifest

       14    errors of law and fact; and (2) to prevent manifest injustice.

       15    Debtors' arguments are without merit. Each of the arguments the

       16    debtors now raise in the motion to alter or amend are either new

       17    arguments raised for the first time on reconsideration but which

       18    could have been raised with the debtors' initial motion to quash,

       19    or have already been considered and rejected.

       20         The debtors challenge the corporation's standing under Rule

       21    2004. The court overrules this objection for the reasons stated

       22    in Section I, supra, which are incorporated herein by this
       23    reference.
       24         The debtors remaining arguments regarding the corporation's

       25    use of Rule 2004 for plan revocation purposes and the authority

       26    of the corporation's other shareholder could (and should) have

       27    been raised with the initial motion to quash. They were not and

        28   the debtors offer no explanation for their failure or inability

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        1   to raise those arguments initially with the motion to quash.

        2        The only arguments made in support of the motion to quash

        3   were (1) that the corporation could not use Rule 2004 but,
        4   rather, had to obtain any discovery under the Federal Rules of

        5   Civil Procedure because of pending California Corporation § 2000

        6   proceedings; and (2) the corporation had not demonstrated good

        7   cause. The court rejected both arguments finding (1) that the

        8   discovery sought by the corporation under Rule 2004 was unrelated

        9   to the California Corporations Code § 2000 proceedings and

       10   therefore the use of Rule 2004 was appropriate, and (2) inasmuch

       11   as the corporation invoked Rule 2004 to ascertain if the debtors

       12   engaged in any wrongdoing with respect to their duties and

       13   obligations under the Bankruptcy Code and under the confirmed

       14   third modified plan, the use of Rule 2004 was appropriate and

       15   good cause for its use was shown. The debtors said nothing about

       16   plan revocation under § 1330 or the corporation's or its

       17   principal's authority to invoke Rule 2004. The court will not

       18   entertain those arguments now, raised for the first time on

       19   reconsideration, when they easily could (and should) have been

       20   raised initially with the motion to quash.
       21        Therefore, based on all the foregoing and for the reasons

       22   previously stated on the record on January 20, 2016, the debtors'

       23   motion to alter or amend the court's December 2, 2015, denying

       24   the debtors' motion to quash the corporation's Rule 2004

       25   subpoenas, ordering the debtors to produce documents, and

       26   ordering the debtors to appear for Rule 2004 examinations is

       27   DENIED.
       28        A separate order will issue.

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        1    III. ORDER DENYING APPLICATION FOR RULE 2004 EXAMINATION AND
                  QUASHING RELATED SUBPOENA [Dkts. 228, 237]
        2
                  On December 9, 2015, the debtors filed an application to
        3
             examine the corporation and its principal under Rule 2004 with a
        4
             related subpoena for document production and compelling
        5
             attendance. The application was set by the court for hearing,
        6
             and was heard, on January 20, 2015. Appearances were noted on
        7
             the record. For the reasons explained below, the application
        8
             will be denied and the related subpoena quashed.
        9
                  As ordered in Section I, this case is converted to a chapter
       10
             7 case. The debtors' Rule 2004 application states that the
       11
             purpose of the requested examination and document production is
       12
             to determine the debtors' and estate's rights to compel
       13
             distributions from the corporation and any claims the debtors may
       14
             have against the corporation for wrongful distribution. On pages
       15
             9-10 of the document filed at docket no. 258, which is the
       16
             debtors' opposition to this court's order to show cause entered
       17
             on December 15, 2015, and discussed in Section IV, infra, the
       18
             debtors suggest that the Rule 2004 examination and document
       19
             production are also necessary to determine if the debtors can
       20
             perform under the third modified plan if the corporation
       21
             dissolves. Since this case is now converted, any cause of action
       22
             against the corporation, if any, will be brought by the chapter 7
       23
             trustee. And given conversion, plan performance and
       24
             implementation are no longer an issue.
       25
                  Therefore, for the foregoing reasons, the debtors'
        26
             application for an order permitting Rule 2004 examinations of the
        27
        28

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               corporation and its principal is DENIED the related subpoenas are

               QUASHED.
                    A separate order will issue.


               IV. ORDER DISCHARGING ORDER TO SHOW CAUSE WITH NO FURTHER
                    SANCTIONS (Dkt. 2371
                    On December 15, 2015, the court entered an order to show
               cause directing debtors' litigation attorney to show cause why he
               should not be sanctioned for attempting to use the debtors'
               December 9, 2015, Rule 2004 application and subpoena to obtain
               discovery related to a stayed evidentiary hearing on the
               valuation and transfer of the co-debtor's 50% corporate interest.
               The court heard this matter on January 20, 2016. Appearances
               were noted on the record.
                    The court stayed an evidentiary hearing on the valuation and
               transfer of co-debtor's 50% corporate interest under California
               Corporations Code § 2000 after the debtors appealed from two
               orders the court considers interlocutory orders related to that
               matter. The court stayed the evidentiary hearing in order to
               allow the district court to decide if it is necessary to construe
               the debtors' notices of appeal as motions for leave to appeal
               and, if so, whether it will hear the appeals. The possibility of
               sanctions was based on what the court perceived as an attempt by
               the debtors to use the Rule 2004 process and related subpoena
               discussed in Section III, supra, to circumvent that stay and
               obtain discovery related to the valuation and transfer

           I   proceedings.
                     Since the debtors' Rule 2004 application has now been denied


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        1    I   and the related subpoena quashed as ordered in Section III,

        2        supra, the order to show cause will be DISCHARGED as moot. No

        3        further sanctions are ordered.
        4             A separate order will issue.
        5             Dated: February 2, 2016.
        6
        7
                                       NITED STATES BANKgUPTCY JUDGE
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        1                            INSTRUCTIONS TO CLERK OF COURT
                                              SERVICE LIST
        2
                   The Clerk of Court is instructed to send the attached
        'II document, via the BNC, to the following parties:

            Arthur Samuel Humphrey
            78 Cernon St #A
            Vacaville CA 95688

            W. Scott de Bie
            P.O. Box 981444
            West Sacramento CA 95798

            Thomas R. Phinney
            400 Capitol Mall, Suite 2560
            Sacramento CA 95814

            Jan P. Johnson
            P0 Box 1708
            Sacramento CA 95812




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